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                 EXHIBIT A
                                        Case 3:18-cv-01713-SMY Document 25-1 Filed 07/15/20 Page 2 of 3 Page ID #201
From: GLEN CRAIG <GLENCRAIG@RCN.COM>
Subject: Re: Infringements GLEN CRAIG
Date: M arch 4, 201 7 at 2:21:59 PM EST
To: Anthony Funcheon <AF@liebowitzlawfirm.com>, Donna Halperin <dhimagemag@gmail.com>




    On Feb 2 1, 201 7, at 2:30 PM, GLEN CRAIG <glencraig@rcn.com> wrote:




         http://www.americanphotomag.com/photos-miles-davis-day-in-life YESOK




         http://thelosangelesbeat.com/201 5/04/a-day-in-the-life-of-miles-davis-photo-exhibit-by-glen-craig-april-15-may-11-at-leica-gallery/ YES OK




         http://gambrellrenard .com/blog/20 15/3/30/miles-davis-exhibition-by-glen-craig-at-the-leica-gallery-la-april-1 5th-may-11 th-20150K




         hltps://www.milesdavis.com/newslinterview-glen-craig -a-day-in-the-life-of-miles-davis/ OK




         http://mochamanstvle.com/2014/07/newly-unearthed-photographs-of-miles-davis-to-be-featured-at-morrison-hotel-gallery/ OK




         http://thisisfabrik.com/close-up-miles-davis-and-jesse-diamond-white-noise-at-leica-gallery/OK




         hltp://blog.leica-camera.com/2014/09/12/glen-craig-close-up-miles-davis-at-photokina-2014-daswesentliche/3080-1-08 inas/ OK




         http://www.leicagalleryla.com/gallery-view/glen-craig/ OK




         http://www.jerryjazzmusician.com/2015/05/great-encounters-41 -friendship-miles-davis-sugar-ray-robinson/ NO NO GO AFTER




         hltps://www.hamiltonandhare.com/biogs/things-we-like/4 7189124-undiscovered-boxing-icons-mandela-miles-davis-and-steve-mcgueen NO NO GO AFTER




         http://melodicdistraction.com/nigeria-japan-jazz-records-gym/ NO NO GO AFTER




         http://www.boxfitsd.com/fag .html NO NO GO AFTER




         hltp://museemagazine.comfculture/2016/5/2/glen-craig-at-morrison-hotel-galleryOK




         hltps://www.morrisonholelgallery.com/photographs/0Ftd46/Miles-Oavis-Gleasons-gym-June-1970-NYC-speed-bag-work-outOK




         http://www.popmatters.com/review/various-artists-miles-ahead-original-motion-piclure-soundtrack/ N 0 NO GO AFTER
                  Case 3:18-cv-01713-SMY Document 25-1 Filed 07/15/20 Page 3 of 3 Page ID #202

http://www.popmatters.com/review/various-artists-miles-ahead-orjginal-motion-picture-soundtrack/ N 0 NO GO AFTER
